          Case 2:24-cv-03443-SIL Document 5 Filed 05/13/24 Page 1 of 2 PageID #: 28


AO 440 (Rev. 06/1 2) Summons in a Ci vil Action


                                       UNITED STATES DISTRICT COURT
                                                               for the
                                                   Eastern District of New York


                        SaraJo Ornauer                           )
                                                                 )
                                                                 )
                                                                 )
                             Plaintiff(s)                        )
                                                                 )
                                  V.                                     Civil Action No. 2:24-cv-03443-SIL
                                                                 )
          Mitra QSR KNE, LLC d/b/a Mitra QSR                     )
                                                                 )
                                                                 )
                                                                 )
                            Def endant(s)                        )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant 's name and address) Mitra QSR KNE, LLC d/b/a Mitra QSR
                                    7250 Dallas Parkway, 8th floor
                                    Suite 800
                                    Plano, TX 75024




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Saul D. Zabell, Esq.
                                 Zabell & Collotta, P.C.
                                 One Corporate Drive, Suite 103
                                 Bohemia, NY 11716



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                            BRENNA B. MAHONEY
                                                                            CLERK OF COURT

                  5/13/2024                                                        L:uuui,
Date:
                                                                                      Signature o
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 Civi l Action No. 2:24-cv-03443-SIL

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, ifany)
 was received by me on (date)

           0   I personally served the summons on the individual at (place)
                                                                                on (date)                            ; or

           0   I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          ------------------
           on (date)                               ' and mailed a copy to the individual's last known address; or

           0   I served the summons on (name ofindividual)                                                                     , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                on (date)                            ; or

           □   I returned the summons unexecuted because                                                                            ; or

           0   Other (specify):




           My fees are$                            for travel and $                  for services, for a total of$          0 .00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                            Server's signature


                                                                                        Printed name and title




                                                                                            Server's address

 Additional information regarding attempted service, etc:
